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                            EXHIBIT A
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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                     Case No. 3:19-md-2885
EARPLUG PRODUCTS LIABILITY
LITIGATION

                                          Judge M. Casey Rodgers
This Document Relates to:
                                          Magistrate Judge Gary R. Jones
All Wave 1 Cases Listed on Attached
Exhibit B




       REMAND WAVE 1 PLAINTIFFS’ MOTION FOR SUMMARY
      JUDGMENT ON 3M COMPANY’S FULL AND INDEPENDENT
           LIABILITY FOR CAEv2-RELATED INJURIES


      Pursuant to Federal Rule of Civil Procedure 56, N.D. Fla. Local Rule 56.1,

and Case Management Order Nos. 31, 34, 45 and 47 as amended by Nos. 49 and 51

(MDL Dkts. 2304, 2787, 3079 and 3126 as amended by Dkts. 3352 and 3402), the

Wave 1 Remand Plaintiffs (collectively, “Plaintiffs”) respectfully move for

summary judgment on 3M Company’s arguments and defenses that it is anything

but fully and independently liable for all CAEv2-related injuries, whether incurred
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before or after the 2008 Aearo Defendant acquisition. 1 There are four independent

bases for such a ruling, including: (1) judicial estoppel; (2) collateral estoppel; (3)

waiver; and (4) ordinary application of successor liability law under any of the

potentially relevant state laws governing the 2008 acquisition and subsequent events

in 2010, when 3M Company “upstreamed” the Aearo Defendants’ hearing

protection business into 3M Company.

       This motion comes after 3M Company finally confirmed in Short Form

Answers 2 filed in the Wave 1, 2 and 3 remand cases 3 what Plaintiffs have suspected

was coming since the Aearo Defendants filed bankruptcy in late July—i.e., that, after

more than three-and-a-half years of litigation, 19 bellwether verdicts, and more than



1
      Such arguments and defenses include but are not limited to any attempt by
3M Company to shift blame to the Aearo Defendants through direct liability
arguments, but also via apportionment and/or superseding cause defenses. See, e.g.,
Exhibit C, Declaration of Jennifer M. Hoekstra dated October 4, 2022 (“Hoekstra
Decl.”) at Ex. 2-4 (Amended Answers, Defenses and Admissions at para. 21, 23-
24).
2
      3M Company filed hundreds of formulaic and identical answers in the
Remand Wave cases following the Court’s September 19, 2022 Case Management
Order No. 52 (Dkt. 3467), Hoekstra Decl. Ex. 1; Cabiness Dkt. 48 (Wave Exemplar
Answer to Amended SFC), Hoekstra Decl. Ex. 2; Hopson Dkt. 23 (Wave Exemplar
Answer to SFC), Hoekstra Decl. Ex. 3; Redline of Wave Answer based on Beal
Bellwether Answer, Hoekstra Decl. Ex. 4.
3
      At this time Leadership is submitting this Motion for Summary Judgment only
on behalf of the Wave 1 Cases, because those cases are most immediately impacted
by the issues addressed in this motion. However, the same issues regarding 3M
Company’s full and independent liability apply to all remand cases, regardless of
wave.

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400 fully-briefed summary judgment motions, 3M Company now intends to argue

that it does not, in fact, bear full and independent liability for CAEv2-related injuries.

These Short Form Answers—which are essentially amendments to the Master

Answer—echo 3M Company’s recent arguments to this Court that Plaintiffs not only

bear the burden on successor liability issues, but that such issues remain live in all

future CAEv2 cases in this MDL. See Dkt. 3372. Plaintiffs therefore bring this

motion for summary judgment to resolve the issue now. Doing so will have the dual

benefits of clarifying the record on the scope of 3M Company’s liability at this

critical juncture and avoiding unnecessary disputes later, when Plaintiffs proceed to

trial.

I.       LEGAL STANDARD

         Summary judgment is appropriate where the record reflects there are no

genuine disputes of material fact, and the moving party is entitled to judgment as a

matter of law. See Fed. R. Civ. P. 56; see also Celotex Corp. v. Catrett, 477 U.S.

317, 322-23, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986). A fact is “material” if, under

the applicable substantive law, it might affect the outcome of the case. Hickson Corp.

v. N. Crossarm Co., 357 F.3d 1256, 1259-60 (11th Cir. 2004). A dispute of fact is

“genuine” if “the evidence is such that a reasonable jury could return a verdict for

the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S.Ct.

2505, 91 L.Ed.2d 202 (1986).


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      The moving party bears the initial burden of “informing the court of the basis

for its motion and of identifying those materials that demonstrate the absence of a

genuine issue of material fact.” Rice-Lamar v. City of Fort Lauderdale, 232 F.3d

836, 840 (11th Cir. 2000) (citing Celotex, 477 U.S. at 323, 106 S.Ct. 2548). Once

that burden is met, the nonmoving party must “go beyond the pleadings” and present

competent record evidence showing the existence of a genuine, material factual

dispute for trial. Celotex, 477 U.S. at 324, 106 S.Ct. 2548. In doing so, and to avoid

summary judgment, the nonmoving party “must do more than simply show that there

is some metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co. v.

Zenith Radio Corp., 475 U.S. 574, 586, 106 S.Ct. 1348, 89 L.Ed.2d 538 (1986). The

“mere existence of a scintilla of evidence” supporting the nonmovant's case is

insufficient to defeat a motion for summary judgment. Liberty Lobby, 477 U.S. at

252, 106 S.Ct. 2505. In assessing whether a movant is entitled to summary judgment,

a court must view the evidence and factual inferences drawn therefrom in the light

most favorable to the non-moving party. See id. at 255, 106 S.Ct. 2505; Allen v.

Tyson Foods, 121 F.3d 642, 646 (11th Cir. 1997). Ultimately, summary judgment

must be entered where “the nonmoving party has failed to make a sufficient showing

on an essential element of [its] case with respect to which [it] has the burden of

proof.” Celotex, 477 U.S. at 323, 106 S.Ct. 2548.




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II.    ARGUMENT

       As noted above, there are four independent bases why any defense 3M

Company asserts to its full and independent liability for all CAEv2-related injuries

(whether incurred before or after the 2008 Aearo acquisition and subsequent 2010

upstreaming) fails as a matter of law. 4 These include: (1) judicial estoppel; (2)

collateral estoppel; (3) waiver and (4) ordinary application of successor liability law

to the record evidence.

       A.    3M is Judicially Estopped From Disclaiming its Full and
             Independent Liability for CAEv2-Related Injuries
       In its August 14, 2022 order on the Cupit motion, the Court found that

“Aearo’s successor liability [was then] only a potential defense that 3M Company

has never raised in Cupit’s case or any other individual case in this MDL.” Dkt.

3386, at 8. That now has changed with the Wave Short Form Answers, which finally

make explicit 3M Company’s intention to invoke such a defense in future trials. See



4
        Plaintiffs’ motion focuses on 2010, because that is the year 3M Company
“upstreamed” the Aearo Defendants’ hearing protection business into 3M Company
itself, and when Plaintiffs believe the facts demonstrate under the summary
judgment standard that it clearly took on all CAEv2-related injuries. That is also the
more expansive time frame at issue for this particular liability issue. Note that
multiple 3M Company witnesses, including those giving corporate 30(b)(6)
testimony have repeatedly testified that when 3M acquired Aearo in 2008, 3M
assumed all of its liabilities. See Hoekstra Decl. at Ex. 7, Brian Myers 10/18/19
30(b)(6) Testimony; Ex. 8, Elliott Berger 11/13/2019 30(b)6 Testimony; Ex. 9, Brian
McGinley 2013 30(b)6 Testimony; and at Ex. 10, Brian Myers 1/8/2021 Choice of
Law Testimony.

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supra, at n.1. So as not to repeat briefing unnecessarily, Plaintiffs respectfully

incorporate the arguments and facts set forth in the Cupit motion, which also

discusses the law on this issue and why it requires judicial estoppel now, when 3M

Company has indicated it does intend to disclaim its full liability for pre-2010

CAEv2-related injuries. See Dkt. 3361. Plaintiffs specifically request that 3M

Company be judicially estopped from asserting any variation of a successor liability

defense. The Court’s Order on the Cupit motion explains why each element of

judicial estoppel applies to 3M Company’s about face, including that:

      • “[A]t no point since the beginning of the MDL—over the years of intensive
        discovery, motions practice, and bellwether trials—did 3M Company ever
        hint, much less represent, that any entity other than itself was responsible for
        the CAEv2 claims in this litigation.” Dkt. 3386, at 3.

      • “From the start, Aearo was a party to this litigation in name only.” Id.

      • “As early as the Master Answer, the defendants jointly asserted an array of
        defenses aimed at shifting liability either to the United States military, 5 or to
        the plaintiffs themselves, 6 but never to Aearo.” Id.

      • Defendants themselves have explicitly disavowed the notion that Aearo has
        a meaningful role or identity in this litigation.

                  o “During discovery, 3M Company alone verified the responses to
                    interrogatories sent to all defendants. Not Aearo.” Id.

                  o “3M Company produced virtually all of the discovery materials.
                    Not Aearo.” Id.


5
        See In re 3M, 3:19md2885, Master Answer, ECF No. 959 at 99–100 ¶¶ 18-
19.
6
        See id. at 94-95 ¶¶ 4-7.

                                             6
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             o “3M Company sent 30(b)(6) witnesses to testify at depositions.
               Not Aearo.” Id.

 • “At the initial multi-day Rule 26 conference, 22 subsequent case management
   conferences, countless biweekly discovery and leadership calls, Pentagon
   and Department of Justice meetings, a myriad of hearings and oral arguments
   on various matters, and in every formal and informal communication with the
   Court, the six defendants maintained an unqualifiedly united front, with 3M
   Company—not Aearo—at the helm.” Id. at 3-4.

 • “Even in the 16 bellwether trials, 3M Company maintained its posture of
   singularity and control.” Id. at 4.

 • “When bellwether juries were instructed that 3M and Aearo would be
   “refer[red] to collectively as ‘3M’” for purposes of liability and damages, 3M
   did not object. See, e.g., Blum v. 3M Co., 7:20cv122, Dkt. 114 at 13.” Dkt.
   3386, at 4.

 • “Regarding the apportionment of fault defense, those same bellwether juries
   could apportion fault only to a single defendant, 3M Company, and the
   company never once argued that the relative fault of any other defendant
   should be considered in connection with the plaintiffs’ injuries, even in cases
   involving CAEv2 use that occurred solely before 3M Company acquired
   Aearo. See, e.g., Adkins v. 3M Co., 7:20cv012, Verdict Form, Dkt. 118 at 4.”
   Id. at 4.

 • “Just as in discovery, the six defendants presented a united front at each
   bellwether trial with 3M calling all the shots, never once asserting
   crossclaims against other “separate” defendants for indemnification,
   presenting evidence that would have permitted a jury to allocate fault
   differently to any of the defendants, or asking for jury instructions or a verdict
   form that would enable juries to apportion fault among the six defendants. If
   the Aearo subsidiaries were, in fact, responsible parties in this litigation, and
   thus should have been subject to independent liability determinations during
   the bellwether trials, it was a costly error to omit any such argument until
   now.” Id. at 4-5.

 • “In post-trial briefing on statutory cap issues in the Wayman and Vaughn
   cases, the defendants stood firm that ‘3M Company owns and controls 100%
   of the other five named defendants, rendering any suggestion that they are six
   separate parties for purposes of this litigation illusory.’ See Vaughn v. 3M,

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        7:20cv134, Dkt. 179 at 10; Wayman v. 3M, 7:20cv149, Dkt. 194 at 4. This
        was the dispositive issue under the applicable law, which imposed
        noneconomic damages caps on a per defendant basis. See Colo. Rev. Stat. §
        13-21-102.5(3)(a),(c); Gen. Elec. Co. v. Niemet, 866 P.2d 1361, 1366 (Colo.
        1994). For the Wayman and Vaughn cases, this meant the difference between
        a nearly $1 million damages cap based on a single defendant, 3M Company,
        and a $6 million cap based on six defendants. Of note, the defendants argued
        that the two plaintiffs should not be permitted to receive six times the
        statutory cap for a single defendant after making the wholly inconsistent
        “strategic decision” to pursue the six defendants collectively as “3M” at trial
        and for the entirety of the litigation. The Court agreed, and relying on the
        defendants’ argument, applied the nearly $1 million statutory cap for a single
        defendant, which in turn significantly reduced the two plaintiffs’ damages
        awards—to the defendants’ financial benefit. See Wayman, 7:20cv149, Dkt.
        198; Vaughn, 7:20cv134, Dkt. 181.” Dkt. 3386, at 5-6.

       Accordingly the Court held “that 3M’s new narrative bears the hallmark

characteristics of a successor liability defense” and would not be well taken, given

the history of its positions in this MDL. Plaintiffs submit that reasoning should apply

here, id., particularly because 3M Company’s core defense against judicial estoppel

from the Cupit motion—that it supposedly only applies to purely “factual” issues—

is incorrect as a matter of law. The law within this Circuit and without is clear that

even purely legal issues are subject to judicial estoppel, and that mixed questions of

fact and law like successor liability (as 3M Company’s own previous citations

indicate) are certainly subject to judicial estoppel. 7


7
       See, e.g., Korman v. Iglesias, 2018 WL 4410226, at *3 n.2 (S.D. Fla. June 28,
2018), R&R adopted, 2018 WL 4409973 (S.D. Fla. Aug. 7, 2018), aff'd, 778 F. App'x
680 (11th Cir. 2019) (“The Eleventh Circuit has not distinguished between issues of
fact and law when ruling on the applicability of judicial estoppel. Thus, regardless
of whether we classify the authorship of the Song as an issue of fact or as an issue
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      B.     3M is Collaterally Estopped From Disclaiming its Full Liability for
             CAEv2-Related Injuries

      In addition to judicial estoppel, 3M Company is also collaterally estopped

from now disclaiming its full and independent liability. The Eleventh Circuit looks

to the following factors to determine whether a party is collaterally estopped from

taking a different position in subsequent litigation, like these cases:

      (1) The issue at stake must be identical to the one involved in the prior
      litigation;

      (2) the issue must have been actually litigated in the prior suit;

      (3) the determination of the issue in the prior litigation must have been
      a critical and necessary part of the judgment in that action; and

      (4) the party against whom the earlier decision is asserted must have
      had a full and fair opportunity to litigate the issue in the earlier
      proceeding.




of mixed fact and law, judicial estoppel still applies.”); see also Hefland v. Gerson,
105 F.3d 530, 535 (9th Cir. 1997) (“The greater weight of federal authority,
however, supports the position that judicial estoppel applies to a party’s stated
position, regardless of whether it is … a statement of fact or a legal assertion. The
integrity of the judicial process is threatened when a litigant is permitted to gain an
advantage by the manipulative assertion of inconsistent positions, factual or legal.”)
(collecting cases from First, Third, Seventh Circuits); see also Bates v. Long Island
R. Co., 997 F.2d 1028, 1037 (2d Cir. 1993) (“The doctrine [of judicial estoppel] has
not been uniformly adopted by federal courts…”); Wright & Miller, 18B Fed. Prac.
& Proc. Juris. § 4477.3 (3d ed.) (“[L]egal positions are advanced in litigation with
respect to specific fact situations, and most assertedly inconsistent positions are
likely to involve some elements of both law and fact. Little would be left of judicial
estoppel if any trace of law were to defeat preclusion. Judicial estoppel may properly
apply even when the facts are clear and only legal positions have changed, so long
as the underlying facts are constant.”).

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Matter of McWhorter, 887 F.2d 1564, 1566 (11th Cir. 1989) (quoting I.A. Durbin,

Inc. v. Jefferson National Bank, 793 F.2d 1541, 1549 (11th Cir. 1986)).

      Here, there is clearly an identity of issues on 3M’s full and independent

liability between the Wave cases and the bellwether trials. Whether 3M Company is

fully and independently liable for pre-2010 CAEv2-related injuries has been tried

multiple different times in the bellwether cases in this MDL, including bellwether

trials (such as the Adkins trial) where all CAEv2 usage and injury occurred before

3M Company even acquired the Aearo Defendants. Nearly every bellwether

involved such pre-2010 usage and injury, and several, straddled the pre- and post-

2010 period. Accordingly, in addition to identity of issues, it is also clear that 3M

Company actually litigated successor liability, even if it did not explicitly invoke

that concept—juries could not find that 3M Company was liable for pre-2010 acts

unless it held 3M Company was directly and independently liable for the Aearo

Defendants’ CAEv2 liabilities.

      Next, when juries found for the plaintiffs in the various bellwether trials, it

was necessary for them to find that 3M Company was fully liable for those injuries.

They did not find that only the Aearo Defendants were liable for pre-2010 acts or

injuries, and 3M did not ask to apportion fault among itself and its subsidiaries, even

though it demonstrated the ability to request apportionment in each bellwether trial.

Dkt. 3386. Similarly, when the juries found for the Defendants, they absolved all


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Defendants, indicating that their verdicts hinged on issues other than 3M Company’s

liability vis-à-vis the Aearo Defendants (e.g., case specific injury). This consistency

(a) shows that 3M Company’s own liability was critical and necessary for findings

against 3M Company, and (b) removes any concerns under the Supreme Court’s

decision, in Parklane Hosiery Co., Inc. v. Shore, 439 U.S. 322 (1979), that offensive

collateral estoppel should be employed when previous verdicts are not inconsistent

on the precluded issue. 8

        And it is also crystal clear that 3M had an opportunity to address these issues

in every bellwether trial. For these reasons, 3M Company is collaterally estopped

from contesting its full and independent liability for CAEv2-related injuries,

therefore rendering summary judgment for Plaintiffs on that issue appropriate.

        C.    3M Has Waived its Position That it Has no Liability for CAEv2
              That Were Sold by the Aearo Entities, and Not by 3M.

        Questions of waiver based on a party’s litigation conduct are for the court to

resolve. Grigsby & Associates, Inc. v. M Sec. Inv., 664 F.3d 1350, 1354 (11th Cir.

2011). Waiver is the “intentional relinquishment or abandonment of a known right.”

United States v. Olano, 507 U.S. 725, 733 (1993); Rubinstein v. Yehuda, 38 F.4th

982, 995 (11th Cir. 2022). Waiver may be explicit, or it may be implied through



8
      Similarly, there is no risk of unfairness to 3M Company, given that it had the
opportunity 19 different times to obtain a different trial result on its full and
independent liability. Id.

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conduct if the conduct makes out a clear case. Air Prod. and Chem., Inc. v. La. Land

and Exploration Co., 867 F.2d 1376, 1379 (11th Cir. 1989); Gaudreau v. My Pillow,

Inc., No. 6:21-CV-1899-CEM-DAB, 2022 WL 3098950, at *6 (M.D. Fla. July 1,

2022).

      A defendant may waive a defense if the district court, after considering the

relevant circumstances, determines that the defendant’s litigation conduct gave the

plaintiff a reasonable expectation that the defendant intended to defend the suit on

the merits. Cottrell v. DeVillers, No. 2:20-CV-5354, 2022 WL 2340884, at *8 (S.D.

Ohio June 29, 2022) (citing Blessing v. Chandrasekhar, 988 F.3d 889, 895 (6th Cir.

2021)). “[A] party’s litigation conduct can generally waive affirmative defenses,

including equitable defenses.” Paleteria La Michoacana, Inc. v. Productos Lacteos

Tocumbo S.A., 247 F. Supp. 3d 76, 99 (D.D.C. 2017).

      These waiver principles apply to 3M’s newly-concocted position that it has

no liability for the Aearo Entities’ sales of CAEv2 to the military, or for injuries first

suffered from using the CAEv2 before 2008 or 2010. 3M has previously argued that

it had a right to remain silent and not assert a successor liability defense because that

is not an affirmative defense and is a plaintiff’s burden to prove. 3M, through its

litigation conduct, however, waived any defense that it is not liable for CAEv2 that

was designed and sold by the Aearo Entities, therefore rendering summary judgment

for Plaintiffs on that issue appropriate.


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      D.     Ordinary Application of Successor Liability Law Also Warrants
             Summary Judgment on 3M’s Full and Independent Liability

      The final reason 3M Company is fully and independently liable for CAEv2-

related injuries is ordinary application of successor liability. 3M Company itself put

this at issue in the MDL via its recent Short Form Answers in the Wave cases, as

well as its statements indicating that it believes successor liability remains a live

issue for all remaining CAEv2 lawsuits, thus indicating its belief that the issue must

be decided in this Court or any other court overseeing a remanded wave case.

             1.    Relevant Facts for 3M Company’s Successor Liability

      The key facts applicable to 3M Company’s successor liability are not in

dispute. In 2008, 3M Company purchased all of the equity of the Aearo Defendants,

becoming their 100% owner. Declaration of Jennifer M. Hoekstra dated October 4,

2022 (“Hoekstra Decl.”), Ex.11. The acquisition agreement was governed by

Delaware law. Id. In 2010, 3M Company “upstreamed” the Aearo Defendants’

hearing protection business (including the CAEv2 business) into 3M Company

itself, providing a nearly $1 billion receivable to the Aearo Defendants for that

exchange. Id., Ex. 16 at 6. Brian Myers oversaw that transition, id., Ex. 13, Aug. 16

Tr. 118:22–25., and, as the Court has seen in multiple different bellwether trials,

every key employee involved with the CAEv2 from the Aearo days became 3M

Company employees—including Mr. Berger, Mr. Kieper, Mr. Myers, and others.

Id., Hoekstra Decl. ¶¶ 10-13, 20. 3M Company then sold the CAEv2 directly under

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its own name and branding until 2015, when 3M Company (at Mr. Myers’ direction)

quietly stopped selling the CAEv2 after Moldex discovered the Flange Report. Id.,

Exs. 17 and 18.

      In 2016, Moldex-Metric brought a qui tam lawsuit against 3M Company. See

United States ex rel. Moldex-Metric, Inc. v. 3M Co., 3:16-cv-1533, Dkt. 1 at 2, 5-6

(D.S.C. May 12, 2016). That lawsuit, which referred to 3M Company as

“3M/Aearo,” see generally id., alleged wrongdoing and damage to the government

for the entirety of the time that first the Aearo Defendants and then 3M Company

sold CAEv2 to the military. Id. at 14-17. The government subsequently intervened

in that case. Id., Dkt. 22. Then, in the parties’ settlement agreement, 3M Company—

and only 3M Company—settled the claims for the entire CAEv2 sales period

(including the pre-acquisition period). See id., Dkt. 23, Ex. 1. At no time in that qui

tam litigation did 3M point the finger at Aearo or otherwise disclaim any portion of

liability for all CAEv2-related injuries the government suffered from the companies’

fraudulent sales.

      Subsequently, in this MDL, 3M Company has continued the same practice

with respect to taking on full liability for CAEv2-related injuries, as exemplified by

it not only acquiescing to listing itself as a fully liable defendant in each of the 16

bellwether trials (and 19 verdicts) but doing so in cases (such as the Adkins

bellwether trial) that involved only pre-Aearo acquisition CAEv2 use. Dkt. 3386, at


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4. Similarly, 3M Company has argued in post-trial briefing in the Wayman and

Vaughn trials that it not only shares full liability for CAEv2 injuries, but that “3M

Company owns and controls 100% of the other five named defendants, rendering

any suggestion that they are six separate parties for purposes of this litigation

illusory.” Id. at 5 (quoting same).

        Finally, also relevant to this discussion is that 3M Company is a Delaware

corporation with its primary place of business in Minnesota, 9 and that the Aearo

Defendants were at all relevant times Indiana-based businesses. Dkt. 959 ¶¶ 16-20.

              2.    Each potentially relevant state has the same basic law on
                    successor liability

        Regardless of whether one applies Indiana, Minnesota, or Delaware law,

successor liability exists for an acquiring corporation in four general situations: (1)

where there was an implied or express agreement to assume liabilities; (2) there a

fraudulent sale of assets done for the purpose of evading liability; (3) a purchase is

a de facto consolidation or merger; or (4) where the purchaser is a mere continuation

of the seller. See Ziese & Sons Excavating, Inc. v. Boyer Const. Corp., 965 N.E.2d

713, 722 (Ind. Ct. App. 2012); Niccum v. Hydra Tool Corp., 438 N.W.2d 96, 98



9
       See 3M Company’s 2021 SEC Form 10-K, at 1, available at
https://s24.q4cdn.com/834031268/files/doc_financials/2021/q4/2021-3M-10-
K.pdf;                                   see                                 also
https://mblsportal.sos.state.mn.us/Business/SearchDetails?filingGuid=be2c506f-
a4d4-e011-a886-001ec94ffe7f.

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(Minn. 1989); Fountain v. Colonial Chevrolet Co., 1988 WL 40019, at *7 (Del.

Super. Apr. 13, 1988) (citing Fehl v. S. W.C. Corp., 433 F. Supp. 939, 945 (D. Del.

1977)).

         Plaintiffs are unaware of any state that does not include implied or express

assumption of liabilities as a basis for successor liability. Some states are more

expansive in when they will apply successor liability—such as the product line

exception 10—but Plaintiffs are unaware of narrower exceptions that have any effect

on this motion.

               3.    Regardless of other bases for successor liability, it is clear
                     that 3M Company impliedly assumed CAEv2 liabilities

         Although there are strong bases to argue that the 2010 upstreaming constituted

either a de facto consolidation/merger or rendered 3M Company a mere continuation

of the Aearo Defendants’ hearing protection business, the Court need not wade into

those issues now because 3M Company’s actions since 2010 clearly demonstrate

that it impliedly assumed all CAEv2-related liabilities. After upstreaming the Aearo

Defendants’ hearing protection business into 3M Company, the latter settled all

CAEv2 liabilities with the government in the qui tam case, indicated throughout this




10
        See, e.g., Ramirez v. Armsted Industries, Inc., 86 N.J. 332 (1981) (holding
that a corporation which acquires all or substantially all of the manufacturing assets
of another corporation and undertakes essentially the same manufacturing operation
as the selling corporation bears successor liability for injuries from those products).

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MDL via words and actions that it was independently liable for all CAEv2 liabilities,

submitted itself as the primary defendant for CAEv2 injuries in 16 different

bellwether trials (representing 19 different verdicts), and did so for cases that not

only spanned the pre- and post-acquisition periods (thereby incurring liability for

3M Company for the pre-acquisition portions of those cases), but also for purely pre-

acquisition injury cases (e.g., Adkins).

      This long history of indisputable conduct indicates that 3M Company

impliedly assumed all CAEv2-related liabilities with either the 2008 acquisition or

the 2010 upstreaming (or both). Put differently, 3M Company’s history in this case

and before reflects “two truths—that 3M Company is directly and independently

responsible for the CAEv2 liability in this litigation and that its subsidiaries are

parties in name only.” Dkt. 3386 at 9. Thus, regardless of whether the Court applies

Delaware, Minnesota, or Indiana law on successor liability, 3M Company is liable

under any and all.

      E.     In the alternative, Plaintiffs Move to Strike the Amended Claims
             and Defenses in 3M Company’s Answers in Wave Cases
      As this Court is aware, 3M Company has never explicitly asserted a defense

against its full and independent liability before now, and in fact was found to have

such full and independent liability by multiple different juries. The about-face the

Court and Plaintiffs are now witnessing in 3M Company’s new Short Form

Answers—which are essentially amendments to the Master Answer—is plainly

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Aearo bankruptcy-related. But Plaintiffs are aware of no case law holding that

shifting positions in order to obtain litigation leverage through a parallel bankruptcy

satisfies Rule 16(b)’s “good cause” requirement. And, even if 3M could establish

good cause, Rule 15(a) (which underlies Rule 16(b) when pleading amendments are

at issue) still requires that 3M Company not engage in undue delay or have a dilatory

motive for amending its Answer, and that an amendment not unduly prejudice its

opponent.

      The Eleventh Circuit has “also recognized that district courts have the inherent

power to strike a pleading as part of their inherent powers to manage their dockets.”

Whipple v. Johnson, 2020 WL 8615598, at *1 (11th Cir. Aug. 27, 2020). Indeed,

“the power to strike a pleading, is inherent in a trial court's authority to enforce its

orders and ensure prompt disposition of legal actions.” State Exch. Bank v. Hartline,

693 F.2d 1350, 1352 (11th Cir. 1982). The key to unlocking a court’s inherent power

is a finding of bad faith. Barnes v. Dalton, 158 F.3d 1212, 1214 (11th Cir. 1998). A

finding of bad faith is warranted where a party knowingly or recklessly raises a

frivolous argument. Id. “A party also demonstrates bad faith by delaying or

disrupting the litigation or hampering enforcement of a court order.” Id.

      If a proposed amendment is futile (which is assessed under a standard

equivalent to Rule 12(b)(6)), then the Court may reject it on that basis alone. The

Short Form Answers—which contend 3M Company is not fully and independently


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liable for CAEv2-related injuries, whether incurred before or after the 2008 Aearo

acquisition and subsequent 2010 upstreaming—are futile for two independent

reasons: judicial and collateral estoppel. See supra. Even if that were not the case, it

is clear that 3M Company violates Rule 16(b)’s good cause requirements, as well as

Rule 15(a)’s prohibitions on dilatory and prejudicial amendments. It is plainly

obvious that 3M Company is trying to inject successor liability issues into this MDL

extraordinarily late in the process and, most likely, as a way to use its proposed

amendment as some yet-to-be-determined hook for a motion in the Aearo

Defendants’ bankruptcy. Such motivations are clearly improper, come too late, fail

to satisfy the requisite burdens, and therefore are improper under Rules 16(b) and

15(a).

         Pretrial Order No. 17 and the Court’s recent Orders that 3M Company file

Short Form Answers (e.g., Dkt. 3467) do not change this conclusion. Although PTO

17 allowed 3M Company to amend to add defenses at a later point, it did not purport

to change Rule 15’s or 16’s requirements regarding such amendments, particularly

after such notable events as the close of general fact discovery (Wave 1) or where

changing allegations or adding defenses explicitly contradict extended litigation

positions and admissions in the Master Answer (all Waves). 11 And, in its recent



11
     For example, 3M Company admits multiple times in the currently-operative
Master Answer.

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Orders requiring 3M Company to file Shot Form Answers, the Court noted that “to

the extent 3M Company denies the successor liability allegations in the plaintiffs'

amended complaints, or otherwise raises any defense as to successor liability, the

plaintiffs may file an appropriate motion addressed to those issues within 14 days

after the amended answer is filed in their cases.” This is the “appropriate motion

addressed to those issues.”

      F.     If the Court Determines There is a Triable Issue of Fact, 3M
             Company’s Successor Liability Defense Puts at Issue Several Pieces
             of Evidence it Previously Convinced the Court to Exclude

      Although Plaintiffs believe the Court should grant their motion, they note that

if 3M Company convinces the Court there is a triable issue of material fact regarding

its full and independent liability, that will put at issue several categories of evidence

3M Company previously convinced the Court to exclude via motions in limine and,

in certain instances, with Plaintiffs’ agreement. These include at least the qui tam

settlement, press release regarding the same from the government, and each of the

previous CAEv2 plaintiff bellwether verdicts. The reason these categories of

evidence will be relevant is because each shows the ways in which 3M Company

confirmed that it impliedly or expressly assumed the Aearo Defendants’ CAEv2-

related liabilities. Each is thus a critical basis for any successor liability showing

Plaintiffs must make at trial. Therefore, if the Court denies this motion and Plaintiffs

must once again try 3M Company’s full and independent liability—this time, with


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3M Company actively trying to deny that liability rather than its previous

acquiescence—they ask for a ruling that these categories of evidence are relevant

and may be introduced to all future juries in CAEv2-related cases.

III.   CONCLUSION

       For the above reasons, Plaintiffs respectfully request that the Court rule 3M

Company is fully and independently liable for all CAEv2-related injuries (if proven

at trial), regardless of when they occurred.




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